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 9                              UNITED STATES DISTRICT COURT
10                         EASTERN DISTRICT OF CALIFORNIA
11

12   VERONICA BECERRA, an individual; )               CASE NO. 09-CV-00125-OWW-SMS
     WILLIAMS HERRERA LUIS, an                )
13   individual; VANNESSA CASTRO, an )                Assigned to Judge Oliver W. Wanger
     individual; AURORA HOLGUIN, an )
14   individual; ALMA LANDEROS, an            )
     individual; ADALBERTO                    )       ORDER GRANTING PLAINTIFFS’
15   HERNANDEZ, an individual; and            )       MOTION TO REMAND AND
     ELEUTERIA SOSA MENDOZA, an )                     REMANDING ACTION TO STATE
16   individual, on their own behalf and on )         COURT
     behalf of all others similarly situated, )
17                                            )
                                              )
18                       Plaintiffs,          )
                                              )
19                                            )
            vs.                               )
20                                            )
                                              )
21                                            )
     THE McCLATCHY COMPANY, a                 )
22   Delaware Corporation, d/b/a The Fresno )
     Bee; McCLATCHY NEWSPAPERS                )
23   INC., a Delaware corporation, d/b/a The )
     Fresno Bee; and DOES 1 through 50, )
24   inclusive,                               )
                                              )
25                                            )
                                              )
26                       Defendants.          )
                                              )
27                                            )
     ________________________________ )
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 1            On December 19, 2008, Plaintiffs filed this purported class-action lawsuit against
 2 Defendants The McClatchy Company and McClatchy Newspapers Inc. (“Defendants”),

 3 both doing business as “The Fresno Bee,” in the Superior Court of the State of California,

 4 County of Fresno. Plaintiffs’ complaint contains eight claims: Claims one through seven

 5 assert violations of various provisions of the California Labor Code, and the eighth claim

 6 is for an alleged violation of California’s Unfair Business Practices law.

 7            On January 20, 2009, Defendants filed a notice of removal pursuant to 28 U.S.C.
 8 § 1441(b), claiming that the Employee Retirement Income Security Act (“ERISA”)

 9 provided the basis for removal.

10            On February 13, 2009, Plaintiffs filed their Motion to Remand, and said Motion
11 came on for hearing by the court on April 27, 2009. Plaintiffs appeared by counsel

12 Kathleen Dunham of Callahan & Blaine; Defendants appeared by counsel David Kadue

13 of Seyfarth Shaw and William Hahessy. The Court, having considered the pleadings and

14 declarations and having heard the arguments of counsel, rules as follows:

15            Plaintiffs’ Motion to Remand is hereby GRANTED on the ground there is an
16 absence of federal jurisdiction, as no federal employment benefit is identified in the

17 complaint and Plaintiffs are admittedly not seeking ERISA benefits in this action.

18            Plaintiffs’ request for recovery of their attorneys’ fees and costs, under 28 U.S.C.
19 §1447(c), is hereby DENIED because it was not objectively unreasonable for Defendants

20 to have attempted removal.

21            Accordingly, this action is hereby ordered REMANDED to the California Superior
22 Court for the County of Fresno.

23            IT IS SO ORDERED.
24

25 DATED: 6/30/2009                                              /s/ OLIVER W. WANGER
                                                                 OLIVER W. WAGNER
26                                                               United States District Judge
27
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